 Case 1:20-cv-00459-RAH
       Case 1:20-cv-00459-RAH
                          Document
                               Document
                                   26-1 46 Filed
                                               * 10/01/20
                                                  Filed 06/15/20
                                                           Page 1Page
                                                                  of 461 of 46

               REDACTED VERSION

             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                BID PROTEST
__________________________________________
                                           )
AAR MANUFACTURING, INC. D/B/A              )
AAR MOBILITY SYSTEMS,                      )
                                           )
                  Plaintiff,               )
                                           )
      v.                                   ) Case No. 1:20-cv-00459-RAH
                                           ) Judge Richard A. Hertling
UNITED STATES,                             )
                                           ) FILED UNDER SEAL
                  Defendant,               )
                                           )
TABER EXTRUSIONS, LLC.                     )
                                           )
                  Intervenor.              )
__________________________________________)

    TABER’S MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION FOR
     JUDGMENT ON THE ADMINISTRATIVE RECORD AND IN SUPPORT OF
    TABER’S MOTION FOR JUDGMENT ON THE ADMINISTRATIVE RECORD

                                          Respectfully submitted,

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 Case 1:20-cv-00459-RAH
       Case 1:20-cv-00459-RAH
                          Document
                               Document
                                   26-1 46 Filed
                                               * 10/01/20
                                                  Filed 06/15/20
                                                           Page 2Page
                                                                  of 462 of 46




                                               TABLE OF CONTENTS

                                                                                                                               Page

I.     NATURE AND STATEMENT OF THE CASE ............................................................ 1
II.    ISSUES PRESENTED ...................................................................................................... 2
III.   COUNTER STATEMENT OF FACTS .......................................................................... 4
       A.        AAR Supplied And Maintained The Legacy Pallet ................................................ 4
       B.        UDRI Developed The Original Wide-Extrusion Concept For The Next-Gen All-
                 Aluminum Cargo Pallet During An Air Force Feasibility Contract To Consider
                 Alternatives To The Legacy Pallet ......................................................................... 4
       C.        The Aluminum Extrusion Process .......................................................................... 5
       D.        UDRI Developed, Matured, Qualified, and Delivered Prototype Pallets Under A
                 Development Contract, With Extrusion And Manufacturing Development Input
                 From Taber, Multiple Other Subcontractors and Others ........................................ 6
                 1.         Taber’s Role In UDRI’s Development Contract Was To Work Toward
                            Developing And Extruding Acceptable Components For Prototypes ...... 10
                 2.         UDRI Worked And Consulted With Numerous Entities In Developing The
                            Overall Next-Gen Air Cargo Pallett Design ............................................. 13
       E.        UDRI Delivered 500 Wide-Extrusion Pallets To The Air Force Through The
                 Maturation and Low Rate of Initial Production Task Order Contract .................. 14
       F.        After Initially Soliciting Production Of The UDRI Wide-Extrusion Design, The
                 Air Force Redesigned The Pallet To Solicit A Substantially Different Narrow-
                 Width Extrusion Design In Which Taber /UDRI Were Not Involved.................. 16
                 1.         Initial Air Force Pre-Solicitation Efforts Focused On the Wide Extrusion
                            Design But Generated Concern ................................................................ 16
                 2.         The Air Force Itself Redesigned the Next-Gen Pallet To A Narrow-Width
                            Form To Resolve Industry’s Concern About The Wide-Width Form,
                            Without Involving UDRI or Taber ........................................................... 17
                 3.         The Air Force Considered Potential OCI Issues Before AAR’s Protest .. 20
       G.        The Air Force Thoroughly Investigated And Rejected AAR’s OCI Concerns .... 20
       H.        The GAO Sustained The Air Force’s OCI Determination.................................... 21
IV.    ARGUMENT ................................................................................................................... 22
       A.        The Standard Of Review Is Deferential To The Air Force ................................... 22
       B.        AAR Cannot Establish A Biased Ground Rules OCI ........................................... 23
                 1.         The Air Force’s Narrow-Width Redesign Was Carried Out Without
                            UDRI’s Or Taber’s Participation, Eliminating The Basis For AAR’s
                            Ground Rules Protest ................................................................................ 25

                                                                i
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed 10/01/20
                                                   Filed 06/15/20
                                                            Page 3Page
                                                                   of 463 of 46




               2.        Assuming Taber’s Involvement Prior To The Air Force Redesign Remains
                         Relevant, AAR Is Covered By The Development Contract Exception To
                         the Biased Ground Rules OCI Prohibition................................................ 25
               3.        Assuming Taber’s Involvement Prior To The Air Force Redesign Remains
                         Relevant, AAR Is Covered By The Multiple Contractor Exception To the
                         Biased Ground Rules OCI Prohibition ..................................................... 28
     C.        Assuming Taber’s Involvement Prior To The Air Force Redesign Remains
               Relevant, AAR Cannot Succeed On Merits In Establishing Taber Had Access to
               Competitively Useful Nonpublic Information ...................................................... 30
     D.        Assuming Taber’s Involvement Prior To The Air Force Redesign Remains
               Relevant, AAR Cannot Succeed In Proving Taber Would Be Impaired In
               Performing The Contract ...................................................................................... 34
     E.        AAR Cannot Establish Irreparable Harm / Prejudice ........................................... 37
     F.        Balance of Hardships Favors The United States................................................... 38
     G.        Public Interest Favors The United States .............................................................. 38
V.   CONCLUSION ............................................................................................................... 38




                                                             ii
 Case 1:20-cv-00459-RAH
       Case 1:20-cv-00459-RAH
                          Document
                               Document
                                   26-1 46 Filed
                                               * 10/01/20
                                                  Filed 06/15/20
                                                           Page 4Page
                                                                  of 464 of 46




                                                TABLE OF AUTHORITIES

Cases
AAR Manufacturing Inc. d.b.a. AAR Mobility Systems,
  B-418339, 2020 WL 418339 ............................................................................................. passim
Aegis Technologies Group, Inc. v. United States,
  128 Fed.Cl. 561(2016) ............................................................................................................. 24
Alliant Techsystems, Inc.,
   B-410036, 2014 WL 6065861 .................................................................................................. 34
American Apparel, Inc. v. United States,
 108 Fed.Cl. 11 at 21-22 (2012) ................................................................................................. 25
American Artisan Productions, Inc.,
  B- 292559, 2003 WL 22309118 ............................................................................................... 29
ARINC Engineering Services, LLC v. United States,
  77 Fed.Cl. 196 (2007) .............................................................................................................. 31
Atlantic Aluminum & Metal Distributors, Inc. v. United States, 42 Cust.Ct.,
   37 838-39, 1959 WL 8112 *2-*3 (1959) ................................................................................... 6
Axiom Res. Mgmt., Inc. v. United States,
  564 F.3d at 1381-82 ................................................................................................................. 22
CACI, Inc.-Fed. v. United States,
  719 F.2d 1567 (Fed. Cir, 1983) ................................................................................................ 31
Computers Universal, Inc.,
  B-292794, 2003 WL 22717841 ................................................................................................ 35
Deva & Assocs., PC,
  B-415508.11, 2019 WL 2903379 ............................................................................................. 35
Ernst & Young, LLP v. United States,
  136 Fed.Cl. 475 (2018) ............................................................................................................ 28
Filtration Development Co., LLC v. United States,
   60 Fed.Cl. 371 (2004) ........................................................................................................ 28, 31
GIC Agric. Grp.,
  B–249065, Oct. 21, 1992, 92–2 CPD ¶263 .............................................................................. 26
Lakota Tech. Sols, Inc.,
  B-298297, 2006 WL 2254601 .................................................................................................. 34
Loch Harbour Grp., Inc. v. United States,
  128 Fed.Cl. 294 (2016) ............................................................................................................ 23
Lucent Technologies World Services, Inc.,
  B- 295462, 2005 WL 525448 ................................................................................................... 28

                                                                   iii
 Case 1:20-cv-00459-RAH
       Case 1:20-cv-00459-RAH
                          Document
                               Document
                                   26-1 * 46 Filed
                                                 * 10/01/20
                                                    Filed 06/15/20
                                                             Page 5Page
                                                                    of 465 of 46




Macaulay-Brown, Inc. v. United States,
 125 Fed.Cl. 591 (2016) ............................................................................................................. 23
MAXIMUS Fed’l Servs.,
 B-410359, 2014 WL 7649970 ................................................................................................... 35
Monterey Consultants, Inc. v. United States,
  120 Fed.Cl. 567 (2015) ............................................................................................................ 22
NetStar-1 Government Consulting, Inc. v. United States,
  101 Fed.Cl. 511(2011) ............................................................................................................. 30
North Carolina Division of Services for the Blind v. United States,
 53 Fed.Cl. 147 n.13 (2002) ....................................................................................................... 23
PAI Corp. v. United States,
  614 F.3d at 1352 ................................................................................................................. 22, 23
Parcel 49C Ltd. P’ship v. United States,
  130 Fed.Cl. 109 (2016) ............................................................................................................ 23
Ressler Associates, Inc.,
  B- 244110, 1991 WL 182394 ................................................................................................... 28
Sigmatech, Inc. v. United States,
  141 Fed.Cl. 284 (2018) ....................................................................................................... 23, 35
Snell Enter., Inc.,
  2002 WL 1492090 *7. .............................................................................................................. 28
Systems Plus, Inc. v. United States,
  69 Fed.Cl. 757 (2006) ......................................................................................................... 30, 31
Turner Constr. Co. v. United States,
  645 F.3d at 1386 ................................................................................................................. 22, 23
Vantage Associates, Inc. v. United States.,
  59 Fed.Cl. 1, 11 (2003) ............................................................................................................ 28
ViON Corp. v. United States,
  122 Fed.Cl. 559 (2015) ............................................................................................................ 22
Other Authorities
Aluminum Extrusion Process Basics, Aluminum Extruders Council,
  https://www.aec.org/page/aluminum-extrusion-process-basics (accessed June 5, 2020) ........... 6
Rules
31 CFR § 35.201-18...................................................................................................................... 26
48 C.F.R. § 9.505 .......................................................................................................................... 34
Regulations
FAR § 1.7 ...................................................................................................................................... 21
FAR § 2.101 .................................................................................................................................. 22
                                                                        iv
 Case 1:20-cv-00459-RAH
       Case 1:20-cv-00459-RAH
                          Document
                               Document
                                   26-1 * 46 Filed
                                                 * 10/01/20
                                                    Filed 06/15/20
                                                             Page 6Page
                                                                    of 466 of 46




FAR § 35.001 ................................................................................................................................ 26
FAR § 9.504(a) ............................................................................................................................. 22
FAR § 9.505 .................................................................................................................................. 22
FAR § 9.505(a) ............................................................................................................................. 22
FAR § 9.505(b) ............................................................................................................................. 22
FAR § 9.505-2 ........................................................................................................................ 22, 28
FAR § 9.505-2 (b)(1)(iii) .............................................................................................................. 29
FAR § 9.505–2(b)(1) .................................................................................................................... 27
FAR § 9.505–4 .............................................................................................................................. 30
FAR § 9.508(c) ............................................................................................................................. 27




                                                                       v
    Case 1:20-cv-00459-RAH
          Case 1:20-cv-00459-RAH
                             Document
                                  Document
                                      26-1 * 46 Filed
                                                    * 10/01/20
                                                       Filed 06/15/20
                                                                Page 7Page
                                                                       of 467 of 46




I.         NATURE AND STATEMENT OF THE CASE

           The Air Force seeks to retain a production contractor for a newly designed all-aluminum

air cargo pallet (“Next-Gen pallet”) to replace the balsa and aluminum legacy air cargo pallet

(“Legacy pallet”) which dates to the 1960s (designated as 463L). Protestor, AAR Manufacturing

Inc. dba AAR Mobility Systems ("AAR”) has been the sole supplier for the Legacy pallet for

decades. AAR seeks to preclude Intervenor, Taber Extrusions, LLC (“Taber”), from competing

for the Next-Gen pallet production contract. It contends that Taber’s involvement as a

subcontractor to the University of Delaware Research Institute (“UDRI”) on the development

contract for the Next-Gen pallet created an organizational conflict of interest (“OCI”) which

affords Taber an unfair advantage in the current competition and would impair its objectivity in

performing the contract were it to win the award. 1 AAR’s assertions are erroneous and should be

rejected.

           AAR’s protest, at is core, is a red herring. AAR’s only substantive complaint, in effect, is

that Taber allegedly enjoys an advantage because it is one of a few U.S. companies which can

extrude aluminum parts in a wide-width form. As AAR admitted in the its Government

Accountability Office (“GAO”) protest, however, the Next-Gen pallet now being procured was

redesigned internally by the Air Force to a narrow-width form during the current solicitation

process specifically to resolve that industry concern. The design no longer presents an extrusion

issue for the industry or AAR. As AAR further admitted, multiple entities can extrude narrow-

width components and therefore effectively stand on equal footing with Taber. Accordingly, AAR




1
    AAR abandoned its challenges the solicitation’s past performance criteria and its best value process at the GAO.
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 Case 1:20-cv-00459-RAH
       Case 1:20-cv-00459-RAH
                          Document
                               Document
                                   26-1 * 46 Filed
                                                 * 10/01/20
                                                    Filed 06/15/20
                                                             Page 8Page
                                                                    of 468 of 46




cannot establish any prejudice or injury, balance of hardship in its favor, public interest, or

likelihood of success on the merits arising from an OCI on this production contract solicitation.

       Although the Air Force’s redesign should obviate the need to address AAR’s arguments,

they are unavailing and based upon an irreconcilable conflict. On the one hand, AAR contends

that Taber should be excluded because it was deeply involved in designing the Next-Gen pallet.

On the other hand, in also asserting that there was no design and development contract, AAR

contends that there was no need for design and development because the project was just a form,

fit, and function adjustment to the Legacy pallet. AAR cannot have it both ways. The

Administrative Record establishes that Taber, as a subcontractor, properly provided aluminum

extrusion expertise to UDRI under UDRI’s development and design contract to develop, qualify,

and deliver prototype Next-Gen pallets to the Air Force. Neither UDRI nor Taber believe Taber

contributed to the Air Force’s technical design package or the specifications for the original wide-

width design. However, even assuming that Taber did so inadvertently to some minimal degree,

the GAO correctly opined that the Air Force’s OCI timely investigation correctly concluded there

existed no impermissible OCI for which Taber must be excluded. Moreover, whatever occurred

regarding the wide-width design is irrelevant to the narrow-width design as to which Taber played

no part whatsoever. Accordingly, the Court should deny AAR’s motion, grant Taber’s motion,

and dismiss AAR’s protest.

II.    ISSUES PRESENTED

       First, whether Taber must be barred from competing for the production contract based upon

alleged biased ground rules, unequal access, and impaired objectivity OCIs, where the Air Force

(i) internally designed a new narrow-width panel during the current solicitation which resolved



                                                 2
 Case 1:20-cv-00459-RAH
       Case 1:20-cv-00459-RAH
                          Document
                               Document
                                   26-1 46 Filed
                                               * 10/01/20
                                                  Filed 06/15/20
                                                           Page 9Page
                                                                  of 469 of 46




AAR’s and industry’s concerns about UDRI’s prior wide-width design and (ii) neither Taber nor

UDRI were involved in the Air force redesign effort.

       Second, assuming the matter is not resolved in favor of the United States under the first

issue, whether the Air Force and the GAO correctly determined Taber need not be barred from

competing for the production contract based upon an alleged biased ground rules OCI where Taber

participated in UDRI’s development contract by furnishing extrusion and materials advice and

extrusion services, prior to the Air Force redesigning the pallet.

       Third, assuming the matter is not resolved in favor of the United States under the first issue,

whether the Air Force and the GAO correctly determined Taber need not be barred from competing

for the production contract based upon an alleged biased ground rules OCI where Taber was but

one of several entities which provided advice and services to UDRI under the development

contract, along with others with whom UDRI consulted independently, regarding the manufacture

of the overall Next-Gen pallet, prior to the Air Force redesigning the pallet.

       Fourth, assuming the matter is not resolved in favor of the United States under the first

issue, whether the Air Force and the GAO correctly determined Taber need not be barred from

competing for the production contract based upon an alleged OCI resulting from its alleged

unequal access to proprietary information or source selection information relevant to the contract

which is unavailable to all competitors.

       Fifth, assuming the matter is not resolved in favor of the United States under the first issue,

whether the Air Force and the GAO correctly determined Taber need not be barred from competing

for the production contract based upon an alleged its potential impaired objectivity in performing

the contract based upon its involvement in UDRI’s development contract, prior to the Air Force

redesigning the pallet.

                                                  3
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed 10/01/20
                                                   Filed 06/15/20
                                                            Page 10
                                                                  Page
                                                                    of 46
                                                                        10 of 46




III.   COUNTER STATEMENT OF FACTS

       A.     AAR Supplied And Maintained The Legacy Pallet

       The Air Force developed and has used the Legacy pallet (referred to as the 463L pallet)

since the 1960s to transport air cargo. It is the primary cargo pallet used by the Department of

Defense for air transport. (Administrative Record Tabs (“AR Tab(s)”) 40 at 647; 100 at 2498). The

Legacy pallet utilizes a balsawood core and an extruded aluminum skin. (AR Tab 100 at 2498)

AAR,

                                    , (AR Tab 29 at 399-400) has been the sole supplier and

maintenance provider for the Legacy pallet for decades. (AR Tabs 29 at 394; 43 at 720) The Legacy

pallet has a service life of less than five years and maintenance is an expensive issue. (AR Tabs

100 at 2498; 126 at 3185)

       B.     UDRI Developed The Original Wide-Extrusion Concept For The Next-Gen
              All-Aluminum Cargo Pallet During An Air Force Feasibility Contract To
              Consider Alternatives To The Legacy Pallet

       During 2012, the Air Force contracted with UDRI to conduct a feasibility study regarding

alternate suppliers, materials, and designs for the Legacy pallet. (AR Tab 104 at 2651) The Air

Force hoped to develop and prove out a new technology pallet design capable of meeting the

military’s requirements, being manufactured in mass quantities, and being competitively

competed. (See AR Tab 75, Att. 5 at 2418 (Hernandez Decl. ¶ 2))

       UDRI considered various alternatives including new designs, different core materials, and

different processes. It settled on an extruded aluminum core design like the extruded aluminum

military airfield runway matting of which is was aware. (See AR Tab 104 at 2652) Already familiar

with extrusion of aluminum, UDRI developed the Next-Gen all-aluminum design concept which

showed promise in terms of cost and performance. (AR Tabs 100 at 2498; 104 at 2651) It involved

                                                4
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed
                                              * 10/01/20
                                                 Filed 06/15/20
                                                          Page 11
                                                                Page
                                                                  of 46
                                                                      11 of 46




using an “all-aluminum pallet constructed using large closed cell extrusion profiles that are joined

by friction stir welding.” (AR Tab 106 at 2803) UDRI concluded its feasibility study by submitting

a white paper to the Air Force. (See AR Tabs 75 Att. 1 at 2408 (Bowman Decl. ¶ 2) and Att. 10

at 2429 (Pallini Decl. ¶ 3); 100 at 2498 (refencing Bowman, et al, “HCU-6/E Air Cargo Pallet

Feasibility Study and Design of the Next Gen Pallet,” UDR-TR-2014-14, January 2014)). UDRI’s

feasibility study demonstrated that a manufacturing process that utilizes large unitized extrusions

that are friction stir welded together could be used to manufacture a pallet that met all technical

requirements, reduced initial acquisition cost, and cut life-cycle-cost substantially by doubling the

service life. (AR Tab 100 at 2498). The contract concluded in September 2014 (AR Tab 104 at

2651)

         UDRI reached out to Taber as an industry representative during its feasibility study.2

Founded in 1973,Taber is a well-established aluminum extrusion company. It has produced an

array of extruded products for the U.S. Government and industry. (See AR Tab 109 at 2896-97)

         C.       The Aluminum Extrusion Process

         Aluminum extrusion is the process by which a billet (essentially a log) of aluminum is

softened by heating and is then pressed through a shaped die with a hydraulic press. This creates

a fully formed piece of aluminum in the intended shape as it is squeezed through the die. (AR Tab

22 at 258 (Taber process); see also AR Tab 2 at 18 n.1)) As explained on the public website of the

Aluminum Extruders Council: “The extrusion process is similar to [a] PlayDoh® press in that the




2 UDRI contacted Taber during this period to                                 and to gain knowledge about the
                   . (AR Tabs 75 Att. 13 at 2445 (         Decl. ¶ 4); Att. 14 at 2451         r Decl. ¶ 6); Att. 1 at 2409
(          Decl. ¶ 7)) Taber also responded to UDRl inquiries about                       and                             .
(AR Tab 75 Att. 13 at 2445 (             Decl. ¶ 4); Att. 14 at 2451 (           Decl. ¶ 7)). It proposed no designs or
specifications, had no contact with the Air Force, and did receive any private competitively useful information from
the Air Force. (AR Tab 75 Att. 13 at 2445-46 (           Decl. ¶ 4); Att. 14 at 2450-51           Decl. ¶ 4)).
                                                            5
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 12
                                                                  Page
                                                                    of 46
                                                                        12 of 46




malleable dough is forced through the press and flows through the opening fitted with a particular

die shape . . . [T]he actual aluminum extrusion process is more complicated than this. However,

with the aid of a powerful hydraulic press producing an incredible variety of useful products with

almost any shape imaginable is possible with aluminum extrusion.” (See Aluminum Extrusion

Process Basics, Aluminum Extruders Council, https://www.aec.org/page/aluminum-extrusion-

process-basics (accessed June 5, 2020); Atlantic Aluminum & Metal Distributors, Inc. v. United

States, 42 Cust.Ct., 37 838-39, 1959 WL 8112 *2-*3 (1959) (describing extrusion process).

        D.       UDRI Developed, Matured, Qualified, and Delivered Prototype Pallets Under
                 A Development Contract, With Extrusion And Manufacturing Development
                 Input From Taber, Multiple Other Subcontractors and Others

        In August 2014, based upon UDRI’s work under the feasibility contract, (AR Tab 100 at

2498) the Air Force awarded UDRI Contract No. FA8519-14-C-0004 as a Rapid Innovation Fund

(“RIF”) effort, to develop, manufacture, conduct qualification testing, and deliver prototypes of an

all-aluminum Next-Gen pallet. (AR Tab 100 at 2476-2551) 3. The Air Force funded the contract

with Research and Development funds (See AR Tab 75 at 2401 (citing AR Tab 100 and Sept. 2019

Treasury FAST Book)) The contract ran until August 2016 with the objective being for UDRI to

manufacture and qualify a Next-Gen extruded all-aluminum FSW cargo pallet and to deliver all

necessary engineering technical data along with a government-owned procurement data package,

by managing the engineering, fabrication, test and evaluation, and transition work, (AR Tabs 100

at 2498-2499; 104 at 2651 (“prototype, qualify, document, and prepare design for procurement

and production”)) UDRI explained in its Final Report to the Air Force that it, “performed design,

development, qualification testing, and delivery of prototype Next-Gen cargo pallets.” (AR Tab



3 The executed contract is located at AR Tab 124, but lacks the amendments to the contract. Accordingly, we refer to
the collected contract documents at AR Tab 100.
                                                         6
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 13
                                                                  Page
                                                                    of 46
                                                                        13 of 46




106 at 2803) UDRI’s Principal Investigator, System and Sustainment Engineering Group Leader,

                  , considered it to be a development and maturation contract, “due to the substantial

amount of technology, materials, processes, and methods that were developed in our effort to

update the design and the legacy early 1960's specifications for the cargo pallets.” (AR Tabs 75

Att. 1 at 2408               Decl. ¶ 4); 62 at 1049 (noting the contract had “developed and tested a

pallet prototype ….”)). In its GAO protest, AAR referred some 50 times to the contract as a

development contract, (see AR Tab 72 at 1651-71) and referred to it as an RFP Development

contract in its briefing.

        The contract directed UDRI to: (1) select and subcontract with an aluminum extrusion

company to fabricate the extrusion dies and extrude the Next-Gen pallet subcomponents; (AR Tab

100 at 2499) (2) select and subcontract with an automated welding/manufacturing company for

the Next-Gen pallet FSW and pallet fabrication; (AR Tab 100 at 2499) (3) work with these

subcontractors to develop and define the requirements and produce a minimum of six Next-Gen

pallets for Test & Evaluation/Qualification efforts; (AR Tab 100 at 2499) 4 (4) update and revise

the military standard specification, MIL-DTL-27443F, to reflect the new design; (AR Tab 100 at

2499, 2501) (5) create a Technical Data Package (“TDP”) to depict the final product; (AR Tab 100

at 2500) (6) revise the Technical Order package (i.e., Manual) for the Next-Gen pallet; (AR Tab

100 at 2501) (7) redesign as necessary to correct discovered errors; (AR Tab 100 at 2499) and, (8)




4
 The Air Force amended the contract to purchase eight additional pallets for testing and delivery. (AR Tab 100 at
2540 (amend 0003) The Air Force also directed UDRI to explore three alternate extrusion approaches to reduce risk.
(AR Tab 100 at 2540, 2550 (Plans A - Double Stacked dies, B-Baseline Die Modification, and C-Lightening hole
activities))
                                                        7
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 14
                                                                  Page
                                                                    of 46
                                                                        14 of 46




conduct risk mitigation activities. (AR T 100 at 75) 5 It required far more than mere systems

engineering (i.e., SETA) work.

         UDRI’s design consisted of a total of six extruded aluminum pieces which were to be

machined and welded together. The extruded pieces included two middle panels and two edge

panels each to measure about                     in width, totaling about                  . There also were to be

extruded two end panels. (See AR Tab 104 at 2653-2655) (images)). The panels were extruded in

the form of adjacent cell blocks. (See AR Tabs 104 at 2654; 106 at 2806 (images of cell structure))

Once the panels were extruded, they were to be joined by welding and machining. (AR Tab 106

at 2808) In addition, hoisting rings were to be fabricated and attached to the pallets (AR Tab 106

at 2814 (image))

         UDRI subcontracted with Taber to extrude the                       unique profiles used in its design.6

When Taber encountered initial manufacturing issues with the middle and edge panels, UDRI

undertook risk mitigation efforts by having Taber extrude several alternative designs using

     and                . (AR Tabs 104 at 2657; 106 at 2805) In its risk mitigation efforts, UDRI had

two companies manufacture pallets from Taber’s extrusions (See AR Tab 106 at 2808-11) UDRI

contracted with                                                      ”) to weld, machine, and assemble some

of the Taber-extruded parts. (AR Tab 106 at 2808-09) UDRI also had Taber subcontract welding,

machining, and assembly of additional pallets to                              . (AR Tab 106 at 2810-12) Taber

ultimately succeeded in manufacturing the original baseline design extrusions using pallets




5
  The contract referred to the Next-Gen pallet as being “form, fit and function” only in the context that its “geometry”
would be the same as that of the Legacy pallet. (AR Tab 100 at 2498)
6
  Taber considered UDRI’s requirements to be                 and pushing Taber’s                                   . (AR
Tab 75, Att. 14 at 2452 (        decl. ¶ 9))
                                                           8
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 15
                                                                  Page
                                                                    of 46
                                                                        15 of 46




manufactured by             and                    . (AR Tab 106 at 2805)7 UDRI also engaged with

     e and other entities to address design and other issues with the tie down rings. (AR Tab 106

at 2812-15) UDRI subsequently conducted qualification and first article testing. (AR Tab 106 at

2816-2819). UDRI also rewrote the Specification – MIL-DTL-27443, recommended changes to

the Manual, and developed a complete Technical Data Package. (AR Tab 16 at 2820-22)

         By the end of the contract, according to the Air Force, UDRI had “designed and delivered

    test pallets”. (AR Tab 25 at 267). UDRI also transmitted several required deliverables,

including: (1) Detailed Specification (AR Tab 102); (2) Technical Manual (AR Tab 101); (3)

Technical Data Package including drawings, models and lists (AR Tab 103); (3) Presentation

Material (DI-ADMN-81373/T) on FA8519-14-C-0004, 463L Pallet All Aluminum. (AR Tab 104);

(4) Qualification Test Report (AR Tab 105); and (5) UDRI’s Final Report. (AR Tab 106). In its

Final Report, UDRI explained that, “Under this program, UDRI performed design, development,




7
  UDRI’s monthly reports reflect that UDRI worked with                                      and their subcontractors from
late 2014 until mid-2016 to address extrusion and manufacturing (welding and machining) challenges with UDRI’s
pallet design and design and other issues with the tie-down rings. (See, e.g., AR Tab 130, Data Submissions, Monthly
Report No. 1 (“Mo. Rep.”) at 3373-74 (updated quotes from Taber and                 ); Mo. Rep. 2 at 3530 (contracts with
Taber (                                                        ) and       (                                               )
expected in October); Mo. Rep. 5 at 4301 (working with                                                                    );
Mo. Reps. 6 at 3366 & 7 at 3388 (UDRI considering redesign of
                                                         ); Mo. Rep. 8 at 3396-99 (Taber has extruded each type of
            but                                                              , to address multiple                  ;
          continues); Mo. Rep. 9 at 3407-3408 (UDRI working through                     and              ); Mo. Rep. 10 at
3419 (As alternative extrusion effort, Taber received a                          based upon its work on
                         where                                        ;                        ); Mo. Rep. 11 at 3429-30
(                           ); Mo. Reps. 12 at 4335, 4337 and 13 at 3436-40 (UDRI working with
                                                      ;             continues); Mo. Rep. 14 at 3379-80 (UDRI approves
                                 per its successful                                          ;                             ;
                      ); Mo. Rep 16 at 3452-53 (Taber working multiple                                ;               issue
resolved with                  ); Mo. Rep. 17 at 3462 (Taber directed to locate                                    as
                         ); Mo. Rep. 18 at 3471-3474 (                            ; Taber working with              ); Mo.
Rep No. at 3482 (Taber                           for           while also producing                             ;
                                              continuing efforts); Mo. Rep. 22 (Taber extruded              of
                    ; Taber delivered                      ;                                   and delivered to Air Force;
                                                                   ); Mo. Rep 23 at 3511 (projecting UDRI will prepare
for Final Program Review on July 14, 2016)).
                                                             9
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed
                                              * 10/01/20
                                                 Filed 06/15/20
                                                          Page 16
                                                                Page
                                                                  of 46
                                                                      16 of 46




qualification testing, and delivery of protype Next-Gen cargo pallets. . . . Significant challenges in

manufacturing were overcome, and modifications were made to the pallet design to enable it to

pass qualification testing.” (AR Tab 106 at 2823)

               1.      Taber’s Role In UDRI’s Development Contract Was To Work Toward
                       Developing And Extruding Acceptable Components For Prototypes

       Taber worked closely with UDRI and fellow subcontractors               and                 for

months to develop the Next-Gen pallet prototype. Taber and UDRI agree, however, that Taber did

not contribute materially to the specifications or technical data package UDRI submitted to the Air

Force. (AR Tab 75 Att. 1 at 2408-09 (            Decl. ¶¶ 6 & 7); Att. 13 at 2446-47 (          Decl.

¶ 5); Att. 14 at 2452-53         Decl. ¶ 10)) In its proposal to the Air Force, UDRI explained that

“In this program Taber will utilize the

                                                                  ….” (AR Tab 109 at 2886)

       UDRI’s                     , as a Group Leader, reviewed the technical data package and

specifications developed during the contract. He concluded he could not, “identify any materials

that were prepared by Taber which were subsequently incorporated into the data that UDRI

delivered to the USAF that the USAF would have used in their solicitation or the technical data

package they created from UDRI's data.” (AR Tab 75 Att. 1 at 2408-09 (                Decl. ¶ 6)) He

“estimate[d that] . . . the percentage of the Air Force Next-Cargo Pallet technical data package and

specification that UDRI delivered to the USAF that Taber contributed to was 1%.” (Id., at 2409 ¶

6)

                    observed that, “Taber was not directly and extensively involved in the

development of the specifications underlying this procurement[]” (id.), explaining: “My

interactions with Taber relevant to my preparing the technical data package for the Next-Gen


                                                 10
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 17
                                                                  Page
                                                                    of 46
                                                                        17 of 46




Cargo Pallet included                                         and                            . In the

beginning of the project I engaged with Taber to learn the

        . The final drawing package UDRI delivered to the USAF reflected these industry

capabilities. UDRI made all technical decisions relevant to the design and final specification.” (Id.,

at 2409 ¶ 7) Taber concurred that it was not involved in developing specifications or the technical

data package that went to the Air Force. (AR Tab 75 Att. 13 at 2446-47 (              Decl. ¶ 5); Att.

14 at 2452-53 (         Decl. ¶ 10))

                  ’s observations are consiste1nt with those of Taber. Taber’s practice, when it

received drawings from UDRI, was to

          for internal use. It reviewed the UDRI design to determine if it was

                                                                         . (AR Tab 75 Att. 14 at 2450

(Locher Decl. ¶ 4)). Taber’s engineers

         which were then                                                                      . (Id.)

Taber’s focus as an extrusion fabrication company is solely to bring its considerable

                                                                     ,

                                       . Taber does not view it as its role to

                                , but to advise how Taber might be able to

             . It is up to the customer to decide how it desires to proceed. The process may involve

                                               . If hired for a project, the

                         from which

               . Once the component extrusions are complete, if further work is required to

manufacture a product, such as machining or welding, Taber

                                            . (Id. at 2450-51 ¶ 4)

                                                  11
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 18
                                                                  Page
                                                                    of 46
                                                                        18 of 46




       Taber, UDRI, and the Air Force agree that Taber had virtually no contact with the Air Force

during this contract and was not furnished any private, competitively useful information, directly

or indirectly through UDRI, about the pallets from the Air Force. (AR Tab 75 Att. 13 at 2446

          Decl. ¶ 5) (noting one meeting at       with Air Force); Att.14 at 2450               Decl. ¶

10)) Indeed, UDRI undertook precautions to ensure that neither Taber nor others involved were

exposed to any such information. As Mr.              explained:

       During the course of the Next-Gen development contract I understood that the goal
       of the contract was to deliver to the Air Force all necessary technical data along
       with a government owned procurement data package, to support a follow on
       production contract. Therefore, I took precautions to avoid release of competitively
       useful nonpublic information to UDRl's subcontractors or other vendors, so that
       they might compete in the follow on production contract. Namely, I limited the
       direct contact of the UDRl's subcontractors with the Air Force.

(AR Tab 75 Att. 1 at 2408 (           Decl. ¶ 4)) As a result, Mr.           was certain that Taber

did not receive any nonpublic information from the Air Force. As he stated:

       While there were various meetings with UDRI, its subcontractors, and the Air Force
       I am not aware of any competitively useful nonpublic information released from
       the Air Force to the subcontractors during these meetings. Accordingly, I am not
       aware of any nonpublic information, including source selection information,
       contractor bid or proposal information, or other proprietary, confidential, or source-
       selection-sensitive material, which could result in a competitive advantage to Taber
       or any of the other UDRI subcontractors in the follow-on Cargo Pallet production
       contract that was released from the Air Force.

(Id., at 2408 ¶ 4) The testimony of Mr.              at UDRI and Mr.           and Ms.               at

Taber were confirmed by numerous Air Force personnel. (AR Tab 75 at 2404 (contracting officer

       ); id., Att. 2 at 2412 (primary engineer          Decl. ¶ 4); Att. 3 at 2414 (test engineer

          Decl. ¶ 4); Att. 4 at 2416 (equipment specialist / supervisor               Decl. ¶¶ 2,4)

(attended UDRI meetings); Att. 5 at 2418 (engineer of record                    Decl. ¶ 4) (worked

closely with UDRI); Att. 6 at 2420 (project engineer           Decl. ¶¶ 2-3) (worked closely with


                                                12
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 19
                                                                  Page
                                                                    of 46
                                                                        19 of 46




UDRI); Att. 7 at 2423 (test engineer         Decl. ¶ 4); Att. 8 at 2425 (equipment specialist

Decl. ¶ 4); Att. 9 at 2427 (office of chief engineer        Decl. ¶ 4) (attended UDRI meetings);

Att. 10 at 2429 (contracting officer         Decl. ¶ 4); Att. 11 at 2431 (logistics manager

Decl. ¶¶ 2,4) (meetings with UDRI team – emphasized no information from Air Force); Att. 12 at

2443 (equipment specialist         Decl. ¶¶ 2, 4) (toured Taber))

               2.      UDRI Worked And Consulted With Numerous Entities In Developing
                       The Overall Next-Gen Air Cargo Pallett Design

       UDRI worked and consulted with numerous entities besides Taber as it developed and

refined its design and produced prototypes. As explained by Mr. Bowman:

       To the extent that Taber assisted in manufacturing prototype extrusions and
       contracting with other vendors for fabrication of prototype, demonstration, and
       Operational Test and Evaluation Next-Gen cargo pallets, and UDRl's design
       evolution logically followed from and during that activity, other vendors also
       participated in prototyping, fabrication, welding, forging and other activities, but
       did not drive any design or specification decisions. Those other vendors included:
                                                         , which is not only a friction stir
       weld machine manufacturer, but also a friction stir weld provider, who also
       fabricated whole pallets that UDRI then completed with tie down rings;
                              who friction stir welded pallets in the RIF program;
                 who performed machining services for                 pallets; and
                           who performed machining services for Taber pallets. UDRI
       consulted with some of these companies at various times on the UDRI RIF contract.
       Another vendor used during the program was                       , a tie down ring
       manufacturer, and                    , their subcontractor. I consulted with them
       during the course of the UDRI RIF contract and the Air Force's Next-Gen Cargo
       Pallet includes an updated tie down ring that UDRI developed and
       prototyped. The Air Force's Next-Gen Cargo Pallet follow on production contracts
       will require extrusions, friction stir welding, machining, and tie down ring
       fabrications.

(AR Tab 75 Att. 2409              Decl. ¶ 8)) Mr.          also explained:

       I consulted with, reviewed capabilities of, and/or interacted with a variety of
       technology, manufacturing, and service companies during my development of the
       Next-Gen pallet including, but not limited to the following list. My final design was
       a synthesis of all information I was able to obtain along with UDRI's internal
       analysis, design, development, and testing activities.
                                                 13
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 20
                                                                  Page
                                                                    of 46
                                                                        20 of 46




       Extruders:




       Friction Stir Welders (FSW) and FSW Equipment Suppliers:


       Machine Shops:

       Tie-Down Ring Suppliers:


       Cargo Pallet Vendors:


(AR Tab 75 Att. 1 at 2409-10            Decl. ¶ 9))

       E.      UDRI Delivered 500 Wide-Extrusion Pallets To The Air Force Through The
               Maturation and Low Rate of Initial Production Task Order Contract

       During May 2017, the Air Force awarded UDRI Support Equipment & Vehicles Airborne

Systems, Engineering Support, IDIQ GSA ITSS ID05140071, Task Order 13, to conduct

manufacturing maturation of the prototype Next-Gen pallets and to deliver up to 500 additional

pallets for testing and study. (AR Tab 76) The Air Force’s contracting officer and its Engineer of

Record both considered it to be a low-rate-initial-production (“LRIP”) contract. (AR Tab 75 at

2404, 2418) The Air Force required UDRI to develop mitigation strategies to address

manufacturing challenges, conduct manufacturing process-improvement and maturation activities,

and prove those with trials resulting in components for ground, laboratory, and flight testing as

well as field trials regarding the NextGen pallets. (Id., at 2457) In doing so, UDRI was directed

to focus upon improving the tie-down ring design, pallet manufacturing maturation and testing,

engineering support and updating the specifications and technical order for quality and inspection

                                               14
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 21
                                                                  Page
                                                                    of 46
                                                                        21 of 46




checks. (Id.) UDRI also was directed to assess all areas of manufacturing process improvement to

reduce downstream risk for procurement and enterprise-wide implementation of the Next-Gen

pallet. UDRI’s efforts were to include manufacturing process planning, development, and

execution with trial manufacturing runs up to a maximum of 500 total Next-Gen cargo pallets. The

expectation was that manufacturing process trials would be used to produce finished pallets which

would be delivered for laboratory, ground, and flight-testing validation and verification activities

with the Air Force. (Id.)

       The LRIP contract ran until January 2020. (See AR Tab 77) As of December 2019, UDRI

reported that it had completed all testing and had manufactured and delivered the 500 pallets by

May 2019. (AR Tab 77 at 2465-66)

       Taber subcontracted to undertake process improvement and cost reduction efforts which it

was to demonstrate through trial production runs for the 500 pallets. (AR Tab 75, Att. at 13

(Noecker Decl. ¶ 6); Att. 14 at 2453 (Locher Decl. ¶ 11)) Taber was not requested, nor did it

furnish any designs or specifications to UDRI during this contract. (Id.) Taber worked from the

designs furnished by UDRI. Notably, when Taber

                                                                                                  .”

(Id. at 2453 ¶ 11). Although Taber engaged in several meetings with the Air Force during this

contract, no one at Taber was furnished any private competitively useful information from the Air

Force, directly or through UDRI. (AR Tab 13 at 2447-78 (                Decl. ¶ 6); Att. 14 at 2453

(       Decl. ¶ 12); accord Att. 5 at 2418 (             Decl. ¶¶ 2,4); Att. 6 at 2420 (      Decl.

¶¶ 2,4); Att. 11 at 2431         Decl. ¶¶ 2,4) (emphasizing in Taber meeting that no Air Force

information could be shared); AR Tab 75 at 2404 (contracting officer           ))



                                                15
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 22
                                                                  Page
                                                                    of 46
                                                                        22 of 46




        F.       After Initially Soliciting Production Of The UDRI Wide-Extrusion Design,
                 The Air Force Redesigned The Pallet To Solicit A Substantially Different
                 Narrow-Width Extrusion Design In Which Taber /UDRI Were Not Involved

                 1.       Initial Air Force Pre-Solicitation Efforts Focused On the Wide
                          Extrusion Design But Generated Concern

        In response to the Air Force’s August 2017 Request for Information and Capabilities, (AR

Tab 25 at 291) and the Air Force’s November 2017 Sources Sought Notice, (AR Tab 26) multiple

companies expressed interest in the Next-Gen project. The Air Force’s Market Research indicated

multiple companies might be capable of manufacturing the Next-Gen pallet. (AR Tab 39 at 584-

588).8 In its November 2018 Acquisition Strategy, the Air Force rated the Next-Gen effort to be

low-risk because it was no longer in the “design phase,” had passed all structural and

environmental testing, and would be a build-to-print effort from the Air Force owned military

standard drawings. (AR Tabs 39 at 617; 43 at 727)

        On about November 21, 2017 the Air Force published a sources-sought notice, which

included drawings in substantially the same form as received from UDRI in August 2016. (AR

Tabs 73 at 1; 75 Att. 6 at 2420 (             Decl. ¶ 5)). They included the four-panel wide-extrusion

design reflecting a panel extrusion width of about              inches for the middle and edge panels. (AR

Tab 75 Att. 6 at 2420            Decl. ¶ 5)) Shortly after issuing this notice, a supplier raised a concern

to the Air Force about the width of the extrusion and suggested that a 6-panel design with a

maximum width of about                inches would be more commercially practicable. (AR Tab 75 Att.

6 at 2420          Decl. ¶ 5))

        The Air Force continued to pursue the wide-extrusion design and conducted market

analysis of potential suppliers. (AR Tab 41). The report concluded that multiple companies


8
 An Air Force 2018 Market Research Report indicated that several companies                                ,
possessed the capability to undertake the Next-Gen effort, (AR Tab 41 at 683-690, 692)
                                                       16
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 23
                                                                  Page
                                                                    of 46
                                                                        23 of 46




possessed capabilities and experience to produce the pallet solicited. The report cautioned,

however, that the full production of the all-aluminum pallet required a high level of technical

ability for the extrusion and the FSW operations. In order to continue to meet the Air Force’s high

demand, the report recommended that full and open competition be pursued. (Id., at 692)

                2.       The Air Force Itself Redesigned the Next-Gen Pallet To A Narrow-
                         Width Form To Resolve Industry’s Concern About The Wide-Width
                         Form, Without Involving UDRI or Taber

       The Air Force Project Engineer for the Next-Gen project,                      , continued to

discuss the extrusion width issue with extrusion sources into the fall of 2018, with some saying

that they could provide that width of extrusion and some saying that they could not. (AR Tab 75

Att. 6 at 2420 (        Decl. ¶ 6)) During 2018, however, based upon industry concerns about the

wide-extrusion design,          and another Air Force engineer began to develop internally a narrow-

extrusion design based on 6 panels with a maximum width of             inches. (AR Tab 75 Att. 6 at

2420          Decl. ¶ 6).

       In late January 2019, the Air Force posted a presolicitation notice for the Next-Gen Pallet

(See AR Tab 75 Att. 6 at 2420-21            Decl. ¶ 7)) Before the technical data package could be

posted, a potential offeror expressed concern with the wide-width design. The contracting officer

inquired of           if production using the 4-panel design was commercially practicable. Horn

explained that some sources had the capability to produce the design but that he was not certain if

more than one vendor would be able to supply the necessary aluminum extrusions. (AR Tab 75

Att. 6 at 2420-21 (         Decl. ¶ 7))

       By about February 15, 2019, Mr.           had developed a relatively complete version of the

6-panel narrow-width design. (AR Tab 75 Att. 6 at 2421             Decl. ¶ 8)



                                                  17
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 24
                                                                  Page
                                                                    of 46
                                                                        24 of 46




       On February 22, 2019, the Air Force posted a technical data package for the Next Gen

Pallet, which still contained the 4-panel design. (See AR Tabs 75 Att. 6 at 2421       Decl. ¶ 9);

46 (drawing package))

       On March 27, 2019 the Air Force hosted a presolicitation conference. (AR Tab 51 at 977;

See AR Tab 53 at 982-1017) The Air Force addressed various issues with the proposed contract

and afforded participants the opportunity to ask questions and to conduct one-on-one meetings

with the Air Force. (See AR Tab 53 at 1000-13 (questions), 1015-17 (one-on-one meetings))

Several vendors expressed concern with the wide-width extrusion design and requested the Air

Force to consider a narrow-width extrusion design. (AR Tab 53 at 1000, 01, 03, 07,10, 17) They

contended that there were only a limited number of aluminum extruders which could produce the

wide      inch aluminum extrusions. (Id.; see also AR Tab 75 Att. 6 at 2421 (         Decl. ¶ 10))

Among them was AAR which pressed its singular concern that there was but one company which

could extrude the wide-width design and requested that the Air Force provide a revised narrow-

width design profile “to lower program costs, [and ] increase competition . . . “ (AR Tab 53 at

1003, 1017) (emphasis added)

       During the internal Air Force meeting following the conference, the agency requested

to proceed with the narrow-width extrusion panel design. (AR Tab 75, Att. 6 at 2421           Decl.

¶ 10) Accordingly, the Air Force advised in subsequent responses to further industry questions

that it would be issuing a revised design reflected in new drawings. (AR Tab 53 at 1000, 02, 03,

05, 07, 09, 10). To emphasize that there was a substantially new design, the Air Force also

explained that its different design was why it would not distribute UDRI’s Final Report from the

development contract, lest it be misleading. (AR Tab 53 at 1005)



                                               18
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed
                                              * 10/01/20
                                                 Filed 06/15/20
                                                          Page 25
                                                                Page
                                                                  of 46
                                                                      25 of 46




       From then on, the solicitation proceeded based upon the Air Force’s new pallet design. On

April 24, 2019, the Air Force posted the revised technical data package to include the new

preliminary 6-panel design. (AR Tab 75 Att. 6 at 2421 (         Decl. ¶ 11)) On May 16, 2019, the

Air Force posted a revised technical data package to include the 6-panel design in three-

dimensional electronic files. (AR Tab 75, Att. 6 at 2421 (      Decl.¶ 12) (citing AR Tab 73, Pre-

solicitation Notice)

       On August 19, 2019, the Air Force issued the Request for Proposals for the Next-Gen

pallet. (See AR Tab 65 at 1171 and following) On October 1, 2019, the Air Force amended the

solicitation to include the final technical drawing package which included the Air Force’s six-

panel redesign. (AR Tabs 75, Att. 6 at 2421 (        Decl. ¶ 13); 65 at 1304 (amend 0002), 1315-17

(drawings); 1334-58 (revised Specification, 1359-69 (publication Notice)). The Air Force updated

the detailed specification on October 30, 2019 (AR Tab 65 at 1483 (amend 0004), 1486-1504

(specification), 1509 & 1517 (publication notice)) and on November 21, 2019. (AR Tab 65 at 1531

amend 0006), 1534-57 (specification), 1561-62 (publication notice); see also AR Tab 70 (updated

specification)).

       All offerors were well aware that the proposed contract was a build-to-print effort (see,

e.g., AR Tab 65 at 1571-72 (questions 41, 44-46 emphasizing build-to-print effort)) and that it

involved a narrow-width 6-panel design) (see, e.g., AR Tab 65 at 1559 (question 14 emphasizing

6-panel extrusions))

       Neither UDRI nor Taber were involved the Air Force’s internal redesign of the Next-Gen

pallet. Indeed, in its December 23, 2019 Status Report to the Air Force under the LRIP contract,

UDRI specifically noted: “the USAF has developed a new NGAA design with six panels instead

of the four for manufacturing reasons . . ..” (AR Tab 77 at 2466)

                                                19
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed 10/01/20
                                                 Filed 06/15/20
                                                          Page 26
                                                                Page
                                                                  of 46
                                                                      26 of 46




               3.      The Air Force Considered Potential OCI Issues Before AAR’s Protest

       The Air Force contracting officer responsible for developing the solicitation for this

contract has been involved in the procurement since 2016. In addition, having discussed the prior

development contract with his predecessor, he was familiar with the prior contract and the potential

offerors, including Taber. In undertaking his initial analysis during the process of developing the

solicitation, the contracting officer determined that there were no apparent potential OCIs. (AR

22-1 at 6; 22-75 at 2396)

       During the March 27, 2019 presolicitation conference, the Air Force specifically addressed

the conflicts issue when prospective offerors inquired if the development contractors would be

excluded. The Air Force declined to do so because, “[t]he pallet that the Air Force is procuring is

somewhat of a different design and is considered a full and open effort.” (AR Tab 53 at 1000, 07)

       In May 2019, in responding to yet more offeror questions, the Air Force explained why it

had deviated from the original design: “A re-design was launched to provide a product with the

performance attributes required (and an economically friendly design) while mitigating sourcing

restrictions or limitations.” (AR Tab 58 at 1024, questions 14, 16)

       G.      The Air Force Thoroughly Investigated And Rejected AAR’s OCI Concerns

       On December 11, 2020, AAR protested the Air Force solicitation, averring that Taber

should be barred from the procurement because it suffered from an OCI arising from biased

grounds rules, unequal access to non-public information, and impaired objectivity. (AR Tab 72)

The Air Force’s contracting officer, having previously assessed there to be no OCI, undertook a

month-long investigation of whether significant OCIs existed regarding Taber’s involvement in

the current Next–Gen pallet solicitation. His review resulted in an extensive determination

documenting his analysis. (AR, Tab 75) As part of his review, the contracting officer considered:

                                                20
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed 10/01/20
                                                 Filed 06/15/20
                                                          Page 27
                                                                Page
                                                                  of 46
                                                                      27 of 46




(i) the scope of the Next–Gen development contract; (1) the role of Taber and other subcontractors,

as well as UDRI, in the Next–Gen development contract; (2) the contract file for the Next–Gen

pallet production contract; (3) declarations from Taber regarding interactions with Air Force

personnel (id. at 2398-99, 2445-54); (4) the revisions (and source of the revisions) made to the

production contract TDP as compared to the development contract TDP; (5) the contracting

officer’s own interactions with UDRI and Taber since his involvement with the Next–Gen pallet

program began in 2016. (Id. at 2396-07). He also interviewed (and obtained a statement from)

UDRI’s project leader regarding the Next–Gen development contract. (Id. at 2398, 2408-11). He

also obtained statements from 11 of the agency’s technical, program, and contracting personnel

involved in the Next–Gen pallet program regarding their interactions with Taber and Taber’s

alleged OCI. (Id. at 2411-43). After addressing in detail each of the three OCI grounds alleged by

AAR, the contracting officer concluded that: “In accordance with the above findings and in

accordance with the provisions of FAR Subpart 1.7, I hereby determine that ... there is no

significant OCI affecting the [current RFP].” (Id. at 2406).

       H.      The GAO Sustained The Air Force’s OCI Determination

       The GAO denied AAR’s protest. AAR Manufacturing Inc. d.b.a. AAR Mobility Systems,

B-418339, 2020 WL 418339. In doing so, the GAO carefully reviewed the allegations and the

extent of the contracting officer’s investigation, the record, and the basis for his conclusions as to

each of the three OCI issues, regarding ground rules, id.,*4-*6; unequal access, id, *6-*8, and

impaired objectivity. Id., *8-*10.      In determining that “the contracting officer reasonably

investigated and considered each of the potential OCI issues raised”, id., 2020 WL 418339 *4, the

GAO concluded: “[T]he protester fails to show that the contacting officer was unaware of, or

failed to consider, all relevant information when reviewing Taber’s potential OCIs. The protester

                                                 21
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed
                                              * 10/01/20
                                                 Filed 06/15/20
                                                          Page 28
                                                                Page
                                                                  of 46
                                                                      28 of 46




essentially expresses disagreement with the contracting officer’s judgments regarding the

reasonableness of the OCI inquiry; such mere disagreement does not rise to the hard facts

necessary to support a valid challenge. Systems Made Simple, Inc., supra, at 13.” Id., *10.


IV.    ARGUMENT

       A.      The Standard Of Review Is Deferential To The Air Force

       The FAR defines an “Organizational conflict of interest” (“OCI”) to mean “because of

other activities or relationships with other persons, a person is unable or potentially unable to

render impartial assistance or advice to the Government, or the person's objectivity in performing

the contract work is or might be otherwise impaired, or a person has an unfair competitive

advantage.” FAR 2.101. The situations in which OCIs arise, as described in FAR subpart 9.5 can

be broadly categorized into three groups: biased ground rules, unequal access to information, and

impaired objectivity. FAR § 9.505-2, 9.505(a)-(b), 9.505(a)-(b).

       The Court has recently articulated the deferential standard of review and heavy burden of

proof on AAR to be applied in a protest based upon an OCI, such as this one:

       “Under FAR § 9.504(a), a CO [contracting officer] must ‘[i]dentify and evaluate
       potential organizational conflicts of interest as early in the acquisition process as
       possible’ and ‘[a]void, neutralize, or mitigate significant potential conflicts before
       contract award.” Turner Constr. Co. v. United States, 645 F.3d at 1386 (emphasis
       and alterations in original) (quoting FAR § 9.504(a) ); see also FAR § 9.504(a)
       (2018). “ ‘A significant potential conflict of interest is one which provides the
       bidding party a substantial and unfair competitive advantage during the
       procurement process on information or data not necessarily available to other
       bidders.’ ” Turner Constr. Co. v. United States, 645 F.3d at 1386 (quoting PAI
       Corp. v. United States, 614 F.3d at 1352); see also ViON Corp. v. United States,
       122 Fed.Cl. 559, 579 (2015) (quoting Turner Constr. Co. v. United States, 645 F.3d
       at 1386). “However, the FAR recognizes that the identification of OCIs and the
       evaluation of mitigation proposals are fact-specific inquiries that require the
       exercise of considerable discretion.” Axiom Res. Mgmt., Inc. v. United States, 564
       F.3d at 1381-82 (citing FAR § 9.505); see also Monterey Consultants, Inc. v. United
       States, 120 Fed.Cl. 567, 572 (2015). Therefore, “[t]he CO has considerable
       discretion in determining whether a conflict is significant.” Turner Constr. Co. v.
                                                22
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 29
                                                                  Page
                                                                    of 46
                                                                        29 of 46




       United States, 645 F.3d at 1386 (citing PAI Corp. v. United States, 614 F.3d at
       1352); see also Parcel 49C Ltd. P’ship v. United States, 130 Fed.Cl. 109, 123 (2016)
       (citing PAI Corp. v. United States, 614 F.3d at 1352). Further, the identification of
       an OCI “must be based on ‘hard facts; a mere inference or suspicion of an actual or
       apparent conflict is not enough.’ ” Turner Constr. Co. v. United States, 645 F.3d at
       1387 (quoting PAI Corp. v. United States, 614 F.3d at 1352); see also Loch Harbour
       Grp., Inc. v. United States, 128 Fed.Cl. 294, 302 (2016) (“But, to prove an OCI,
       LHG [protestor] must identify hard facts to support this claim. A mere inference or
       suspicion of an actual or apparent conflict is not enough.” (citing PAI Corp. v.
       United States, 614 F.3d at 1352) ); Macaulay-Brown, Inc. v. United States, 125
       Fed.Cl. 591, 602 (2016) (quoting Turner Constr. Co. v. United States, 645 F.3d at
       1387).

Sigmatech, Inc. v. United States, 141 Fed.Cl. 284, 327 (2018).

       In addition, although GAO decisions are not binding on the Court, the Court generally

recognizes the GAO’s expertise in such matters and should accord deference to the GAO’s

decisions. North Carolina Division of Services for the Blind v. United States, 53 Fed.Cl. 147, 165

n.13 (2002) (“While [GAO] decisions are not binding on [the COFC], [the COFC] accords

deference to the Comptroller General decisions in recognition of GAO's expertise and role in the

resolution of contested procurement decisions. [citations omitted]”).

       The administrative record establishes that the contracting officer thoroughly and

thoughtfully considered all the pertinent facts under the development of the Next-Gen pallet and

reasonably determined there to be no OCI. The GAO’s’ decision reflected a similarly

comprehensive approach. AAR has failed to adduce the hard facts to establish that any OCI or

that the decisions of the Air Force and GAO were not rational and supported by the record.

       B.      AAR Cannot Establish A Biased Ground Rules OCI

       The Court has articulated that:

       “The biased ground rules category of OCIs focuses on the concerns that a company
       may, by participating in the process of setting procurement ground rules, have
       special knowledge of the agency’s future requirements that may skew the
       competition in its favor.” Turner Const. Co. v. United States, 645 F.3d 1377, 1382

                                                23
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 30
                                                                  Page
                                                                    of 46
                                                                        30 of 46




       (Fed.Cir.2011). Under FAR § 9.505–1(a), “[a] contractor that provides systems
       engineering and technical direction for a system but does not have overall
       contractual responsibility for its development, its integration, assembly, and
       checkout, or its production shall not ... be a subcontractor or consultant to a supplier
       of the system or any of its major components.”15 FAR § 9.505–1(b) states that “[i]n
       performing these activities, a contractor occupies a highly influential and
       responsible position in determining a system’s basic concepts and supervising their
       execution by other contractors.” To show a violation under FAR § 9.505–1, the
       FAR requires that a bidder or subcontractor be “in a position to make decisions
       favoring its own products or capabilities” by providing “systems engineering” and
       “technical direction” for the relevant program. FAR § 9.505–1. FAR § 9.505–1(b)
       defines “systems engineering” as “a combination of substantially all of the
       following activities: determining specifications, identifying and resolving interface
       problems, developing test requirements, evaluating test data, and supervising
       design.” FAR § 9.505–1(b) then defines “technical direction” as “a combination of
       substantially all of the following activities: developing work statements,
       determining parameters, directing other contractors’ operations, and resolving
       technical controversies.”

Aegis Technologies Group, Inc. v. United States, 128 Fed.Cl. 561, 571-72 (2016)

       The essence of AAR’s long-winded argument is that the Air Force and GAO erred in not

treating the development contract as a systems and technical direction contract but instead

determined it to be a development contract for which Taber fit within the two exceptions to the

biased ground rules OCI rule. (Mot at 17-37) AAR’s efforts to pigeonhole Taber and UDRI is

misplaced and contradicted by the record. First, the Air Force’s own narrow-width design was

carried out without Taber’s or UDRI’s participation and resulted in a new TDP and drawings which

should eliminate the basis for AAR’s biased ground rules protest. Second, AAR’s argument

misconstrues the significant development of the cutting edge Next-Gen pallet which UDRI

designed, qualified, and delivered multiple prototypes during the development contract, with the

assistance of Taber,                        , and others. This was the epitome of a development

contract for which Taber is entitled to the benefit of the FAR OCI exception. The contracting

officer’s and GAO’s determinations are rational, supported by the record, and should be sustained.


                                                 24
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed 10/01/20
                                                   Filed 06/15/20
                                                            Page 31
                                                                  Page
                                                                    of 46
                                                                        31 of 46




                  1.       The Air Force’s Narrow-Width Redesign Was Carried Out Without
                           UDRI’s Or Taber’s Participation, Eliminating The Basis For AAR’s
                           Ground Rules Protest

         It is undisputed that the Air Force redesigned the middle and edge extrusions from a wide-

width to a narrow-width design, deciding internally that the loss of strength was worth the increase

in the competition pool. (AR Tab 75 at 2399-2400) The Air Force accomplished the redesign

without UDRI’s or Taber’s involvement, even as they were undertaking limited production for

testing of the wide-width design pallets under the LRIP Task Order contract. Accordingly, Taber

was not involved in developing the drawings, TDP, testing, evaluation or other aspects of the new

pallet design which AAR contends is the basis by which Taber might have influenced the ground

rules to favor itself. Accordingly, the redesign should eliminate AAR’s basis for a ground rules

OCI and its argument should be rejected. 9

                  2.       Assuming Taber’s Involvement Prior To The Air Force Redesign
                           Remains Relevant, AAR Is Covered By The Development Contract
                           Exception To the Biased Ground Rules OCI Prohibition

         AAR suggests that Taber just contributed to parts of the TDP and specifications in an effort

to pigeonhole it into a systems engineering and technical advice (i.e., a SETA) contract within the

FAR 9.505-1 paradigm. Vacillating between arguments that the Next-Gen effort was merely a

simple form, fit, and function effort of little consequence and that Taber was deeply involved in

fundamental design changes, (Mot. 17-42) AAR misconstrues the significant effort undertaken to

bring the new and cutting edge Next-Gen pallet to fruition. It ignores that the advanced product

did not previously exist, even if it was to fit within the same geometry and serve the same purpose


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  Taber may assert different grounds for judgment than those asserted by the United States and, similarly, the Court
may decide a matter on alternate grounds. See American Apparel, Inc. v. United States, 108 Fed.Cl. 11 at 21-22, 30,
31 (2012). Although neither the contracting officer nor the GAO specifically addressed this issue, Taber’s argument
is harmonious with their views and ultimate conclusions. See AR Tab 75 at 2399-90; AAR, 2020 WL 1467331 at *9
(observing Air Force’s modified version of the TDP rendered Taber’s role in the design process even more attenuated).
                                                         25
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 32
                                                                  Page
                                                                    of 46
                                                                        32 of 46




as the balsawood Legacy pallet. Although AAR acknowledges that the 2014 contract was a

“Design” contract, it ignores that it was financed with research and development funds. (See AR

Tab 75 at 2401) And, although it cites to the broad contract provisions, it ignores what occurred

under that contract, including: further design, qualification, and the actual manufacture of protypes

for delivery to the Air Force. It further ignores the integrated efforts during 2014 to 2016 that were

necessary between UDRI, Taber,                 , among others, to bring the pallets to actual fruition

rather than mere paper designs.

       Contrary to AAR’s assertion, Taber did not play the SETA effort role of an armchair

systems engineer pushing paper for others to produce. It was engaged in the trenches, refining how

to produce the extrusions successfully, commenting on UDRI’s designs, engaging with the

welding, machining and assembly subcontractors, and extruding the aluminum panels for the

prototypes. UDRI’s efforts involved the evolution of a                                       , which

pushed Taber beyond its                           . (AR Tab 75 Att. 14 at 2452 (Locher Decl. ¶ 9)).

That contract fit well within the FAR definition of “Development”, which means:

       the systematic use of scientific and technical knowledge in the design,
       development, testing, or evaluation of a potential new product or service (or of an
       improvement in an existing product or service) to meet specific performance
       requirements or objectives. It includes the functions of design engineering,
       prototyping, and engineering testing; it excludes subcontracted technical effort that
       is for the sole purpose of developing an additional source for an existing product.

FAR 35.001 (quoted in AAR, 2020 WL 1467331 *6). See also 31 CFR 35.201-18 (same definition).

As the GAO observed, “’development and design work’ [includes] … , as here, that which ‘pushes

the edges of technology in developing or designing new hardware or processes.’” AAR, 2020 WL

*6, (quoting GIC Agric. Grp., B–249065, Oct. 21, 1992, 92–2 CPD ¶263 at 10 n.6). As UDRI’s

technical lead observed: “the new specifications that UDRI drafted on the RIF contract and the


                                                 26
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 33
                                                                  Page
                                                                    of 46
                                                                        33 of 46




subsequent Air Force specifications for the Next Generation Cargo Pallets is expected to result in



                                                          .” (AR Tab 75 Att. 1 at 2408

Decl. ¶ 4))

       Because Taber was engaged in a development contract effort, as the contracting officer and

GAO correctly determined after a thorough analysis, it was entitled to the exception from an OCI

for such efforts even if that afforded it some advantage. As the GAO observed:

       The FAR, however, also recognizes the unique role played by a development
       contractor in the procurement process: while a development contractor “has a
       competitive advantage, it is an unavoidable one that is not considered unfair; hence
       no prohibition should be imposed.” FAR § 9.505–2(a)(3). Thus, regarding the
       development of a solicitation’s work statement, the FAR states as follows:

              If a contractor prepares, or assists in preparing, a work statement to be
              used in competitively acquiring a system or services-or provides material
              leading directly, predictably, and without delay to such a work statement-
              that contractor may not supply the system major components of the
              system, or the services unless-(i) It is the sole source; (ii) It has
              participated in the development and design work; or (iii) More than one
              contractor has been involved in preparing the work statement.

       FAR § 9.505–2(b)(1).

AAR, 2020 WL 1467331 *5 (emphasis added). Like the company which develops new electronic

equipment and, as a result of this development, prepares specifications, as to which the FAR allows

it to supply the equipment, FAR 9.508(c), Taber developed, prototyped, and produced cutting

edge extrusions for this new product, was entitled to advise UDRI on its design from its

manufacturing perspective, and then compete for the production contract. The incumbency

experience Taber gained from the development contract (including its production of prototype

extrusions), and the follow-on LRIP contract to refine the overall manufacturing process and

deliver extrusions for 500 pallets cannot be used to bar it from the competition under these

                                                 27
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed 10/01/20
                                                   Filed 06/15/20
                                                            Page 34
                                                                  Page
                                                                    of 46
                                                                        34 of 46




circumstances,10 any more than its experience developed in extruding aluminum components for

a government                                       . (see AR Tab 109 at 2886 and p. 9 n.7, above)

           The contracting officer and the GAO correctly applied the law to the facts and rationally

explained their decisions. None of the authorities cited by AAR establish otherwise under the facts

of this matter.11

                   3.       Assuming Taber’s Involvement Prior To The Air Force Redesign
                            Remains Relevant, AAR Is Covered By The Multiple Contractor
                            Exception To the Biased Ground Rules OCI Prohibition

           As the contracting officer and the GAO noted, the FAR recognizes a multi-contractor



10
     As the GAO has determined:

           The mere existence of a prior or current contractual relationship between a contracting agency and
           a firm does not create an unfair competitive advantage, and an agency is not required to compensate
           for every competitive advantage gleaned by a potential offeror’s prior performance of a particular
           requirement. For example, an incumbent contractor’s acquired technical expertise and firsthand
           knowledge of the costs related to a requirement’s complexity are not generally considered to
           constitute unfair advantages the procuring agency must eliminate. Optimum Tech., Inc., B-266339.2,
           Apr. 16, 1996, 96-1 CPD ¶ 188 at 7; Versar, Inc., B-254464.3, Feb. 16, 1994, 94-1 CPD ¶ 230 at
           12.

Snell Enter., Inc., 2002 WL 1492090 *7.
11
   AAR’s reliance upon Filtration Development Co., LLC v. United States, 60 Fed.Cl. 371 (2004) is inapposite (Mot.
at 25), because it applies to a SETA contract situation where the contractor merely provides engineering support
services. We have established that Taber was not a SETA contractor but was engaged in the panoply of activities of a
development contractor. AAR also misapplied the quoted language from Vantage. (Mot at 26). The Court’s primary
citation FAR 9.505-1(a) established it was referring to Raytheon’s role as the overall systems designed which it had
previously discussed. Vantage Associates, Inc. v. United States., 59 Fed.Cl. 1, 11 (2003). Indeed, the Court
subsequently approved application the development and design contractor exception based upon a separate
determination that Raytheon was the development and design contractor and, as such, FAR 9.505-2(a)(3) permitted
Raytheon's participation in the contract at issue. As a development and design contractor, Taber also is entitled to that
exception. AAR’s reliance upon Ressler Associates, Inc., B- 244110, 1991 WL 182394, is misplaced. (Mot at 28) It
involved a scheme where the protestor prepared documents that became the statement of work to perform the same
work on a follow-on contract per request of government official without the contracting officer’s knowledge. Id., *2.
The GAO rejected application of the development contract exception because the “the contract is for more of the same
development and design services Ressler is currently performing, and the competitive advantage Ressler obtained was
due to its participation in preparing the statement of work, not its performance of a prior contract.” Id., *6. Here,
Taber’s work was development contract work to develop a new cutting-edge product for a different, production-type
contract, not the same type of contract, so it is covered by the exception. It is not the Ressler situation scenario where
it would be performing the same work on the solicited contract and does not involve the unsavory conduct in that case.
AAR’s passing references to Ernst & Young, LLP v. United States, 136 Fed.Cl. 475 (2018) and Lucent Technologies
World Services, Inc., B- 295462, 2005 WL 525448, are equally unavailing for the same reason that Taber’s
development role far exceeded those of the contractors in these cases.
                                                           28
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed 10/01/20
                                                   Filed 06/15/20
                                                            Page 35
                                                                  Page
                                                                    of 46
                                                                        35 of 46




exception to the ground rules OCI, where, “[m]ore than one contractor has been involved in

preparing the work statement.” FAR 9.505-2 (b)(1)(iii). The GAO has previously applied this

exception in a general manner, without restriction, to an entire solicitation effort when it

determined that “firms other than [the protested entity] HDM worked on the specifications as

well.” American Artisan Productions, Inc., B- 292559, 2003 WL 22309118 *7 (bracketed material

added). The GAO’s decision here is consistent.

       Without citation to any authority, AAR essentially asserts that the Next-Gen development

contract ought to be deconstructed into individual elements in assessing application of the multi-

contract exception, contending that would exclude Taber because it was the only extrusion

contractor involved. (Mot. at 32-37) AAR’s argument lacks merits because it would eviscerate

the exception because only one entity is involved in a specific portion of a development effort.

       The GAO’s broader view is a logical and rational reading of the exception because that is

how projects are developed and procured. They are not solicited in isolated silos but as an

integrated effort reflecting the amalgamation of the various disciplines necessary to develop and

manufacture a procured item. Thus, in this instance, the procurement will necessarily involve not

just the pallet extrusions, but manufacture of the tie-down rings, the welding, machining, and

fabricating of the overall pallet. Under AAR’s theory, no one could ever qualify for the exception

because one would have to ignore the collaboration that is a necessary part of the process.

       AAR’s reliance upon UDRI’s statement that no one drove the design or specification

decision, (Mot at 33-34) does not mean they did not contribute to the UDRI’s development of work

statement. UDRI was clear throughout that it developed the specifications and TDP with the

benefit of input from Taber and many others. (See AR Tab 75 Att. 1 at 2409-2410) Clearly, UDRI



                                                 29
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed 10/01/20
                                                   Filed 06/15/20
                                                            Page 36
                                                                  Page
                                                                    of 46
                                                                        36 of 46




did not and could not have developed them without such collective input considering that all the

elements would need to work together to result in the completion of a pallet.

        Contrary to AAR’s speculation about how the exception should be read, the GAO and

contracting officer offered a rational and practical reading of the exception. Rather than being

narrowly focused on excluding potential beneficiaries, the rule is appropriately general in

recognition that a team effort is usually required – as it was here – to create a product and

production contract work statement, because there has to be an interplay between all disciplines if

the product is to be successfully made. Accordingly, the Court should reject AAR’s speculative

suggestion for how to read the multiple contractor exception and sustain that articulated by the

contracting officer and the GAO.

        C.     Assuming Taber’s Involvement Prior To The Air Force Redesign Remains
               Relevant, AAR Cannot Succeed On Merits In Establishing Taber Had Access
               to Competitively Useful Nonpublic Information

        An unequal access OCI arises in situations in which a firm has access to nonpublic

information as part of its performance of a government contract and where that information may

provide the firm a competitive advantage in a later competition for a government contract. FAR

9.505-4; Systems Plus, Inc. v. United States, 69 Fed.Cl. 757, 770 (2006) The pertinent FAR

provision focusses on (i) proprietary information of other companies and (ii) source selection

information which may give an entity some advantage. FAR § 9.505–4. Thus, such conflicts are

more likely to occur as the result of contracts involving management support services where

contractors are embedded with the government. See NetStar-1 Government Consulting, Inc. v.

United States, 101 Fed.Cl. 511, 520 (2011) (contractor gained unique information about

competitor). As the contracting officer and the GAO correctly determined, no such OCI existed

here.

                                                30
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 37
                                                                  Page
                                                                    of 46
                                                                        37 of 46




          As the GAO observed, AAR, 2020 WL 1467331 *4,*7, and as reflected in his extensive

report, the contracting officer conducted a month-long investigation of the contracting process

delving into his personal knowledge, multiple interviews, and review of numerous sworn affidavits

from Taber, UDRI and the Air Force contracts, program, technical, and logistics teams who

engaged with UDRI and Taber, (AR Tab 75 at 2396-5454) and concluded there was no OCI. (AR

Tab 75 at 2403-05) To demonstrate that such a determination is arbitrary and capricious, AAR

“must identify ‘hard facts,’ see CACI, Inc.-Fed. v. United States, 719 F.2d 1567, 1582 (Fed. Cir,

1983); Filtration Dev. Co., LLC v. United States, 60 Fed.Cl. 371, 380 (2004); ‘mere inference or

suspicion of an actual or apparent conflict is not enough.’” ARINC Engineering Services, LLC v.

United States, 77 Fed.Cl. 196, 202 (2007) (citation omitted). See also Systems Plus, Inc., 69 Fed.

Cl. at 772 (2006) (must have hard facts”) But speculation and innuendo is really all that AAR

offers.

          AAR’s argument, essentially, is that the contracting officer did not dig far enough to prove

a negative, averring that he failed to sufficiently investigate every piece of paper which plaintiff

speculates Taber might have received during the development and LRIP contracts. (Mot. 42-46) It

further avers that he failed to address a laundry list of information to which Taber allegedly had

access which the Air Force refused to give to offerors when requested. (Mot 46-48). These

arguments fail for several reasons besides trying to establish a wholly unreasonable standard to

confirm a negative.

          First, the Air Force is now procuring a narrow-width pallet design in which Taber was

uninvolved and therefore could not have had access to nonpublic competitively useful information.

Contrary to AAR’s speculation, (Mot at 45) the Air Force was designing the revised pallet and its

new TDP and drawings while UDRI was completing work separately on the wide-width Task

                                                   31
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 38
                                                                  Page
                                                                    of 46
                                                                        38 of 46




Order. See 14-16, 17, 19-20, above (citing                     Decl. and UDRI Final Report) Under the

circumstances, there is simply no record evidence that Taber had any access to nonpublic

information about the new design.

         Second, assuming the wide-width design information is relevant, AAR misstates the scope

of the contracting officer’s investigation, his own knowledge, the interviews, and the 14

declarations. The contracting officer was involved in the project from 2016 and was aware of

Taber’s involvement. He had, in fact, previously determined that there was no apparent OCI. (AR

75 at 2396) Once AAR asserted an OCI, however, the contracting officer timely conducted his

extensive investigation with input from contracts, technical, logistics, and other personnel from

Taber, UDRI, and the Air Force, each of whom openly related their experiences and interactions

with UDRI and Taber during the development and LRIP contracts. He was unaware of any

transmission of nonpublic competitively useful information. (AR Tab 75 at 2404) UDRI’s lead

emphasized he sheltered Taber from the Air Force to ensure no private information passed to them.

(See p. 12, above (               ). The Air Force logistics lead emphasized that no information was to

pass to Taber. (See p. 13, above (             )). The Air Force engineer of record and its narrow-width

designer met often with UDRI and confirmed no information passed to Taber. (See pp 12-13,

above (                and        )) Taber recounted its engagement with UDRI and the Air Force in

meetings and confirmed no private information was received. 12 Each and every person testified

that no private information passed to Taber. (See AR Tab 75) AAR just disagrees with the

contracting officer through speculation. That is insufficient to counter the uniform testimony and

other evidence that supports the reasoned decision of the contracting officer and GAO.



12
 AAR’s citation to a status report and one meeting with the Air Force establishes nothing. Indeed, the minutes of the
meeting with the Air Force and others reflect that Taber was in a speaking mode. (Mot at 45)
                                                         32
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed
                                              * 10/01/20
                                                 Filed 06/15/20
                                                          Page 39
                                                                Page
                                                                  of 46
                                                                      39 of 46




       AAR also asserts a laundry list of items it claims the Air Force declined to furnish to

offerors of which it avers Taber was or may have been aware; indeed it contends Taber may have

prepared some of it. (Mot 46-48) AAR overlooks that the current solicitation involves a build-to-

print narrow-width design as to which all information necessary to manufacture a Next-Gen pallet

is contained among the solicitation materials. Notably, AAR ignores that the Air Force declined

to furnish some of the wide-width design information because it was concerned that it would be

misleading to offers. (AR Tab 53 at 1005) (UDRI Final Report) In addition, AAR’s concern during

the solicitation was with Taber’s supposed advantage regarding the wide-width design. (See p. 18,

above) It offers nothing, much less hard facts, to show that Taber either was furnished the

information asserted or that it gained any competitive advantage if it did.

       As the GAO properly observed, and as reflected in the FAR, FAR 9.505-2 (a)(3), the mere

fact an offeror has some advantage, unique information, or capability due to its prior experience,

is not necessarily an improper OCI and the government is not required to equalize all competition.

AAR, 2020 WL 146731 *8. To the extent that Taber gained some advantage from its development

and LRIP subcontract work, or other contracts, that is not the basis for an OCI exclusion. “[W]hile

the development contractor has a competitive advantage, it is an unavoidable one that is not

considered unfair. . .” FAR 9.505-2(a)(3). As pertinent here, “[i]t is well settled, however, that

while an offeror may possess unique information, advantages, and capabilities due to its prior

experience under a government contract, including performance as the incumbent contractor, the

government is not required to equalize competition to compensate for such an advantage, unless

there is evidence of preferential treatment or other improper action. The existence of an advantage,

in and of itself, does not constitute preferential treatment by the agency, nor is such a normally

occurring advantage necessarily unfair. Indeed, the FAR specifically states that, while a

                                                 33
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 40
                                                                  Page
                                                                    of 46
                                                                        40 of 46




‘development contractor,’ . . . ‘has a competitive advantage, it is an unavoidable one that is not

considered unfair; hence no prohibition should be imposed.’” Alliant Techsystems, Inc., B-

410036, 2014 WL 6065861*4 (quoting 48 C.F.R. § 9.505-2(a)(3)); see also Lakota Tech. Sols,

Inc., B-298297, 2006 WL 2254601 *3 (even if awardee had information on manufacture not

available to others, no issue arises because technical package for build-to-print was sufficient for

offerors to submit proposals).

       The documents about which AAR complains were part of the development and LRIP

contracts effort to develop and deliver pallets to the Air Force. To the extent Taber was privy to

information that it prepared or flows from its legitimate role as a subcontractor that does not create

an OCI as the contacting officer and GAO determined. Moreover, in revising the solicitation to

include the new design TDP and drawings, the Air Force ensured that all offerors had correct,

current information which was not misleading. The contracting officer carefully considered all of

this and his decision, and that of the GAO affirming it, was considered and rational. It should be

upheld in accordance with the discretion to be afforded to the agency in making such

determinations. See 48 C.F.R. § 9.505 (“Each individual contracting situation should be examined

on the basis of its particular facts and the nature of the proposed contract. The exercise of

common sense, good judgment, and sound discretion is required …”)

       D.      Assuming Taber’s Involvement Prior To The Air Force Redesign Remains
               Relevant, AAR Cannot Succeed In Proving Taber Would Be Impaired In
               Performing The Contract


       The Court has recently articulated the impaired objectivity OCI standard and burden of

proof as follows:

       An “impaired objectivity OCI” “occurs when a government contractor has
       conflicting obligations under different government contracts, that compromises the

                                                 34
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 41
                                                                  Page
                                                                    of 46
                                                                        41 of 46




        contractor’s ability to render impartial judgment.” See Axiom Res. Mgmt., Inc. v.
        United States, 78 Fed.Cl. 576, 592 n.17 (2007) (citing FAR § 9.505-3; and Aetna
        Gov’t Health Plans, Inc., B-254397 et al., 1995 WL 449806, at *8-9 (Comp. Gen.
        July 27, 1995) ); see also L-3 Commc’ns Corp. v. United States, 99 Fed.Cl. 283,
        297 (2011) (“The impaired objectivity OCI occurs ‘where a firm’s work under one
        contract might require it to evaluate itself under another contract.’ ” (quoting Turner
        Constr. Co. v. United States, 94 Fed.Cl. 561, 569 (2010), aff’d, 645 F.3d 1377 (Fed.
        Cir. 2011) ) ). A Judge of the United States Court of Federal Claims has stated that
        the “primary concern” of an impaired objectivity OCI is that “a firm might not be
        able to render ‘impartial advice.’ ” Turner Constr. Co. v. United States, 94 Fed.Cl.
        at 569 (quoting Aetna Gov’t Health Plans, Inc., 1995 WL 449806, at *8); see also
        A-P-T Research, Inc., B-413731.2, 2017 WL 1462127, at *9 (Comp. Gen. Apr. 3,
        2017) (stating that an impaired objectivity OCI “principally concerns the
        contractor’s ability to perform its contractual obligations free of improper bias”).
        “In order to show an ‘impaired objectivity OCI’, there must be hard facts showing
        that ‘a government contractor’s “work under one government contract could entail
        its evaluating itself, either through an assessment of performance under another
        contract or an evaluation of proposals.” ’ ” Aegis Techs. Grp., Inc. v. United States,
        128 Fed.Cl. 561, 575 (2016) (quoting Ala. Aircraft Indus., Inc.-Birmingham v.
        United States, 83 Fed.Cl. 666, 687 (2008) (quoting Aetna Gov’t Health Plans, Inc.,
        1995 WL 449806, at *9), rev’d on other grounds, 586 F.3d 1372 (Fed. Cir. 2009)).

Sigmatech, Inc., 141 Fed.Cl. at 329; see also FAR 9.505-3. Further, as with other types of OCIs,

de minimis or insignificant OCIs do not warrant disqualification. In this vein, “[A]n agency may

reasonably find that . . . the possibility of a conflict is too unlikely or speculative to conclude that

there is a disqualifying OCI. . . .” Deva & Assocs., PC, B-415508.11, 2019 WL 2903379 *9 (citing

MAXIMUS Fed’l Servs., B-410359, 2014 WL 7649970 *8, and Computers Universal, Inc., B-

292794, 2003 WL 22717841 *2-*3).

        AAR, as it did at the GAO, again overstates Taber’s alleged involvement in the

development contract to speculate that it might elect not to submit an optional Engineering Change

Proposal (“ECP”) or might breach its contract obligations by failing to submit accurate reports to

the Air Force. (Mot. at 38-40) It adds to its argument at the GAO by now suggesting the

contracting officer ignored that Taber might pull its punches on and ECP or “jeopardize the safety

and quality control functions” by not reporting quality issues because it might embarrass itself or

                                                  35
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 42
                                                                  Page
                                                                    of 46
                                                                        42 of 46




be penalized. (Id.) Although AAR adds considerable hyperbole to its argument, it offers nothing

substantive other than that it disagrees with the contracting officer’s reasonable conclusion, (AR

Tab 75 2402-03) which the GAO appropriately sustained, AAR, 2020 WL 146733 *8-*10, that no

impermissible OCI exists under this procurement. Several reasons support these decisions.

        First, as the record establishes, neither Taber nor UDRI were involved in the Air Force’s

new narrow-extrusion design. As such, Taber would have no reason to pull is punches regarding

what it might question about the quality of or seek to improve on the Air Force’s revised extrusion

design.13 It would be as impartial as any other contractor. Indeed, as a contractor on the

government’s extruded aluminum AM2 landing mats contract, Taber might well be incentivized

to suggest improvements through cross fertilization on the two contract efforts. (See p. 9 n.7,

above; AR Tab 109 at 2886)(noting Taber’s work on AM2))

        Second, as the contracting officer correctly observed, even if Taber contributed something

to the design effort and TDP, it was “extremely limited” in terms of the overall development effort

for which UDRI was the principal author. (AR Tab 70 at 2403 (citing to                      Decl.)) Indeed,

neither Taber nor UDRI believe Taber contributed to the specifications or TDP. Considering

Taber’s views about its efforts on the contract, and its view that the design has changed, it is highly

unlikely that Taber would feel constrained about raising quality issues regarding the Air Force’s

redesign of the extrusions. This was appropriately recognized by the GAO.

        Third, as AAR acknowledges, this is not a design contract, but a build-to-print production

contract (Mot. at 38) where the design has been proven out. Under the circumstances AAR’s

concerns are illusory and a de minimis concern for this contract and therefore not a basis for an


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  The GAO acknowledged as much in rejecting AAR’s argument, observing: “as the current solicitation employs a
modified version of the TDP prepared by UDRI, Taber’s role in the design process and potential for an impaired
objectivity OCI becomes even more attenuated.” AAR, 2020 WL 1467331 *9.
                                                     36
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed 10/01/20
                                                   Filed 06/15/20
                                                            Page 43
                                                                  Page
                                                                    of 46
                                                                        43 of 46




OCI. The contracting officer’s reasonable consideration of and conclusions about the matter

should be sustained as they were by the GAO in its reasoned decision.

       E.      AAR Cannot Establish Irreparable Harm / Prejudice

       AAR recognizes that it must prove it was prejudiced and that it will suffer irreparable

harm to succeed in its protest. (Mot at 48, 49) AAR’s contention that it is being denied a fair

basis to compete because of the alleged flawed investigation is misplaced. Equally unavailing is

its assertion that allowing the Air Force to proceed with Taber in the mix would cause it

irreparable harm.

       During the solicitation process, AAR’s singular articulated concern about Taber was its

alleged unique capability to extrude wide-width designs. (See p. 18, above) It, and others,

requested the Air Force to redesign the extrusions to a narrow-width design, which it did. (see

pp. 17-19, above) AAR was afforded the very relief it sought and which it has specifically

admitted creates a situation it where others can now extrude the relatively standard design. (AR

Tab 72 at 1672 (AAR stating: “The Air Force’s amendment of the pallet drawings, splitting the

pallet into six panels instead of three, however, eliminated any potential need for specific

dimensional experience based on wide extrusions that were present in the original three-panel

design. The width, and other dimensions, of the profile sections are now relatively standard

industry sizes that would not be unusual to extrude or weld, making any dimensional-based past

performance restrictions unnecessary. In short, width of the extrusion has no bearing mon a

potential offeror’s ability to successfully perform the instant requirement . . . .”) By its own

admission, AAR cannot establish prejudice or irreparable harm.




                                                 37
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 * 46 Filed
                                                * 10/01/20
                                                   Filed 06/15/20
                                                            Page 44
                                                                  Page
                                                                    of 46
                                                                        44 of 46




       The Air Force has carefully investigated and properly determined that there are no

significant OCIs in this procurement. AAR is free to compete for the contract and therefore has

suffered neither prejudice nor irreparable harm.

       F.      Balance of Hardships Favors The United States

       The Air Force is entitled to substantial deference about what it procures and how it

conducts its procurements. The Air Force has now ensured that AAR will have a fair opportunity

under the FAR to compete if it so desires. Under the circumstances, the interests of the United

States in moving forward with this procurement are equal to or surpass those of AAR.

       G.      Public Interest Favors The United States

       Affording AAR a fair opportunity to compete is certainly in the public interest. By its own

statements seeking a narrow design to neutralize Taber’s supposed advantage, which the Air Force

agreed to, AAR has now received what it sought for a fair competition. The public interest also is

served by having the Air Force proceed with the procurement for the redesigned Next-Gen pallets.

Accordingly, the public interest favors the United States.


V.     CONCLUSION

       The singular concern AAR articulated about Taber’s involvement during the development

contract was that it possessed unique skills in fabricating wide-design extrusions. The Air Force,

responding to AAR’s and others’ concerns, designed a narrow-width extrusion pallet component

which resolved that issue. AAR admitted such. Moreover, assuming Taber’s involvement in the

development contract prior to the redesign remains relevant, the Air Force and the GAO correctly

determined that there exists no impermissible OCI under any theory which requires Taber to be

excluded from this procurement. Accordingly, and for the reasons stated above, the Court should


                                                   38
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed 10/01/20
                                                 Filed 06/15/20
                                                          Page 45
                                                                Page
                                                                  of 46
                                                                      45 of 46




deny AAR’s motion for judgment on the administrative record, grant Taber’s motion, and the

motion of the United States, and dismiss AAR’s protest.

                                                   Respectfully submitted,

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                                              39
Case 1:20-cv-00459-RAH
      Case 1:20-cv-00459-RAH
                         Document
                              Document
                                  26-1 46 Filed 10/01/20
                                                 Filed 06/15/20
                                                          Page 46
                                                                Page
                                                                  of 46
                                                                      46 of 46




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 15, 2020, a copy of the foregoing document
was filed electronically with Court’s electronic filing system. I understand that notice of the
filing will be sent to all parties by operation of the Court’s electronic filing system and that the
following parties may access this filing through the Court’s system.

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                                                40
